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     ~o 245B (CASD) (Rev. 8/11)
                Sheet I
                                    Judgment in a Criminal Case                                                                         FILED

                                              UNITED STATES DISTRICT COURT                                                    CLERK U.S. DISTRICT COURT
                                                                                                                           SOlmt RN DIS1RICT OF CALIFORNIA
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                          BY                                 DEPUTY
                     UNITED STATES OF AMERICA
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                 JOSE FERNANDEZ-HERNANDEZ (3)                                      Case Number: llCR4622-H

                                                                                   Lauren Day Cusick, Federal Defenders, Inc.
                                                                                   Defendant's Attorney
    REGISTRATION NO. 28478-298

    o
    THE DEFENDANT:
     !81pleaded guilty to count(s) _2_0_f_th_e_I_n_fo_ITll_a_ti_o_n_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o      was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)


8 USC 1326                            ATTEMPTED ENTRY AFTERDEPORTATlON (Felony)




        The defendant is sentenced as provided in pages 2 through      _2_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 o   Count(s)                                                                        is   0    areD dismissed on the motion ofthe United States.
 !81 Assessment: $100.00 waived.

  !81 Fine waived                                   0 Forfeiture pursuant to order filed                                        , included herein.
       IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               DECEMBER 5, 2011
                                                                              Date of Imposition of Sentence



                                                                                      m~'if1L ~
                                                                              HON. MARIL                  L.   UFF
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                  IICR4622-H
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AO 245B (CASD) (Rev, 8111) Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                            Judgment - Page   2    of        2
 DEFENDANT: JOSE FERNANDEZ-HERNANDEZ (3)
 CASE NUMBER: llCR4622-H
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         NINETY DAYS.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op.m.         on _____________
               as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                   -------------------------------------------------------------
          o as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           ~DSTATESMARSHAL



                                                                       BY_~~_
                                                                                        DEPlITY ~D STATES MARSHAL




                                                                                                                        llCR4622-H
